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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NEW CONCEPT ENERGY, INC.,

                                              Plaintiff,
                                                                                Case No.: 18-cv-8896-VSB-RWL
                                – against –

GUY GENTILE AND MINTBROKER INTERNATIONAL, LTD.,

                                              Defendants

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        DEFENDANTS’ NOTICE OF MOTION FOR SUMMARY JUDGMENT


        PLEASE TAKE NOTICE, that upon the Memorandum of Law in Support of

Defendants’ Motion for Summary Judgment dated August 10, 2020, the Declaration of

Danielle M. McLaughlin in Support of Defendants’ Motion for Summary Judgment dated

August 10, 2020, and all exhibits attached thereto, Defendants’ Local Rule 56.1 Statement

of Undisputed Material Facts, and upon all the papers and proceedings had herein,

Defendants Guy Gentile and Mintbroker International, Ltd. will move this court, before

the Honorable Robert W. Lehrburger, at the Daniel Patrick Moynihan United States

Courthouse for the Southern District of New York located at 500 Pearl St., New York, NY

10007-1312 on a date and at a time to be designated by the Court, for an Order pursuant to

Federal Rule of Civil Procedure 56 granting summary judgment to Defendants on the basis

that there is no genuine dispute of material fact that Defendants were not “beneficial

owners” of Plaintiff’s securities subject to Section 16(b) of the 1934 Securities Exchange

Act, as Amended, 15 U.S.C. § 78a, because they did not “trade in securities” but in traded
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in “positions” in New Concept securities, and exited a greater than 10% position in New

Concept securities before they came into possession of the actual stock.

       PLEASE TAKE FURTHER NOTICE, that pursuant to Local Rule 6.1, and the

scheduling agreement consented to by this court, (ECF Doc. No. 69) Plaintiff’s opposition

papers must be filed by September 17, 2020 and Defendants’ Reply must be filed by

September 28, 2020.

       Defendants hereby respectfully request oral argument on their motion for summary

judgment.



                                                    FORD O’BRIEN LLP




                                                      /s/Danielle M. McLaughlin
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                                                    Robert S. Landy
                                                    Danielle M. McLaughlin
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                                                    Attorneys for Defendants Guy Gentile
                                                    and Mintbroker International, Ltd.




Dated: New York, New York
       August 10, 2020




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